Case 6:16-cv-00982-CEM-TBS Document 184 Filed 08/21/17 Page 1 of 9 PageID 4653



                                TTNITED STATES DISTRICT COURT
                                 MIDDIJE DISTRICT OF FIJORIDA
                                       ORLAI{DO DIVISION

FEDERAI, TRADE COMMISSION,
et a1.,

              Plaintiffs,

v.                                                             ease No.:         6:16-cv-00982-CEM-TBS

I.IFE I,IANAGEMENT SERVICES OF
ORAI{GE COUNTY, LLC, et aI. ,

              Defendants.




                            MEDIATOR'S MOTION FOR RELIEF


      C O M E SN O WP e t e r    J.    Gri11i,          Mediator           in    the undersigned            case,
and moves for       an order          to    requj-re          payment by Kevin               W. Guice of
the unpaid     mediation         bil1,       or       for     such other          relief      as the Court
may find     warranted      under          the    circumstances.                  In    support      of    the
motj-on, I    state    as follows:


      l-.     The undersigned               as mediator                 rendered       his   bill    to
              Plaintiffs         and Defendants on April                          13, 2017.
      2.      Defendant         Kevin W. Guice has not paid                             the bill      nor made
              objection         to    the bill          at     any time.
      3.      Defendant         Kevin W. Guice owes the undersigned                                  $552.50
              for   the mediation                of    this        cause,       ds agreed in         the
              confirmation            letter          terms        of    engagement sent            by the
              undersigned            to counsel             on March 20,           201-7.
      4.      True and correct               copies           of    the undersigned's
              confirmation            letter          of March 20,              201"7 and the
              undersJ-gned's billing                    of April           13,    20L7 are attached
              hereto     as exhibits.
      5.      Mr. Guice's            counsel          has not           responded to my phone
              message left            on ,fu1y 27,             20L7, nor to my email
Case 6:16-cv-00982-CEM-TBS Document 184 Filed 08/21/17 Page 2 of 9 PageID 4654



                   correspondence         sent   on August           3,    2017.
 .       5.        I declare      under penalty          of perjury            that      the     foregoing
                   is    true   and correct.         Executed          this      2L"r day of August,
                   2017 .
                                                           /s/ peter ,I. Gri1li
                                                           Peter,J. Gri11i, Esg.


         WHEREFORE,the            undersigned        respectfully              requests          that      this
 Court    enter         its   Order   to pay the undersigned,                  s bill       , or     for     such
 other    relief         as the   Court   may find         warranted           under       the
 circumstances.


         RESPECTFULLYSUBMITTED this                    21-"t day of August,                   201-7.



                                                 /s/ Peter .f. Grilli
                                                 Peter,J. Gri11i, Esg.
                                                 Mediator
                                                 Florida Bar No, 23785!
                                                 Peter.f. Gri11i, P.A.
                                                 3001 West Azeele Street
                                                 Tampa, Florida                33509
                                                 8 1 - 3. 8 7 4 . : - . 0 0 2 F a x : 8 1 3 . 8 7 4 . : - . ] - 3 ] -


          I HEREBY CERTIFY that August 2L, 201,7 I electronically
 filed the foregoing  document with the United States District
 Court Electronic  Case Filing system, which will  electronically
 send copies to counsel of record.

                                                           /sl     Peter ,f . Gr i1li
                                                           Peter rf. Gri1li,                 Esq.
Case 6:16-cv-00982-CEM-TBS Document 184 Filed 08/21/17 Page 3 of 9 PageID 4655




                                                                                     Prrrnl. Gnnlr
                                                                                             A
                                                                                       Mronttott

PETER
   J.CRlLLt,
          PRoFEssroru,ru-
                    AssocrRrror                                                                                  V o l c s 8 1 3 . 8 7 4 . 1 0 0 2F A X8 1 3 . 8 7 4 .l13 l
   3001WesrAzse,ue,
                Srns,gr                                                                                          ONLINE   CALENDAR:      www.cRILLIMEDIATIoN.coM
     TAMP^"FL 33609                                                                                                   E.MAIL: PETER@C
                                                                                                                                    RILLIMEDIATION.COM




                                                                                     March 20,      201,1

v]-a           e-mal_L:

Joshua A. Doan, Esquire                                                                          Mario A. Cebalfos, Esquire
jdoanGftc. qov                                                                                   m c e b a l l - o s G c e b a l - l o s - l - a wc. o m
Tejasvi Srimushnam, Esquire                                                                      The Chartwell- Law Office,                             LLP
f- -q-r i   * .m. .r r- e- h- -n-: -m-f.d. f. - - f- Jr . q o v
Federal- Trade Commissj-on                                                                       Matthew Leibert,  Esquire
                                                                                                 leibert Gurbanthier . com
Denj-se Beamer, Esquire                                                                          Urban Thier & Federer, PA
Doni           eo               _ -!.,l€v r rt u^t - . iJ -/ L- ,t d
                        Ro:mcrfdm                                  1tr- e^ q^ d
                                                                              - rr   . COm
Jennifer Knutton, Esquire                                                David Paul Hi1l, Esquire
J e n n i f e r . K n u t t o n G m v fl - o r i d a l - e q a ] . c o m d p h i l l - p a G c f I . r r . c o m
Office of the Attornev General                                           Law Offices of Davi-d P. HilI

                                                                                                 Elias R. Hilal,                    Esquire
                                                                                                 E l i a s . H i l - a l - G e r h l a w .c o m
                                                                                                 Law Office of El-ias R. Hilal,                               PA

Re:                Federal Trade Commission et a1 v.                                                  Life      Management Services                      of
                   Orange County, LLC et al
                   Case No. : 6 : 16-cv-00982-CEll-TBS
                   CONFTRITIATIONOr MEDIATION

Dear Col-leagues:

                    I     look             forward                to workinq with                vou in this            mediation.

DATE:                                Thursday, April 13th, 2OL7
TIME:                                9:30 a.m. (Ha1f Day)

LOCATION:                            Office of Peter ,f . Grilli                                 Mediation
                                     3001 West AzeeLe Street
                                     Tampa, Florida  33609

TERMS OF ENGAGEMENT:

      Our terms of engagement have changed effective   January 20, 20L6.
Please review the ful-l TERMS OF ENGAGEMENT  attached setting  forth our
agreement.   Pl-ease inform us right away of any motion which may result
Case 6:16-cv-00982-CEM-TBS Document 184 Filed 08/21/17 Page 4 of 9 PageID 4656



in the re-scheduring  of the mediation,   or of    any negotiation   which
might make the mediation unnecessary.

BEFORE THE MEDIATION:

      I would like to have a summary of the case two days before the
mediation,   rn addition to a summary, r wou]d rike to see certain
pleadings as follows:

.     Caees in United States District Court:   I have access to the
      pleadings and attachments in federal   cases and I will review         them
      before the mediation.

a     Casea in other courts:  Please send copies of your side's current
      issue pleadings  (the most recent amended complaint and answers)
      as well as important motions and orders (e.g.granting    or denying
      them) .

a     Presuit cases: Please send the most relevant documents such as
      demand or denial letters, contract documents, notices of claim
      and the like.

      If mediation is set for a ful-l- day we will have funch brought in.
We would like to know how many people from your side will    attend so we
can make appropriate  arrangements.    Before the day of mediation,
please advise us of any dietary needs.

      You may wish to share the attached sheet ABOUT MEDIAUON with
your client.    Obstacles to a productive mediation can be averted by
planning and preparation.    Please let me know if I can help, and call
me as wel-l with any other concerns or problems.   Best regards.

                                   Very truly     yours,


                                   Peter J. Grilli

PJG/cd
Enclosures
Case 6:16-cv-00982-CEM-TBS Document 184 Filed 08/21/17 Page 5 of 9 PageID 4657



                                                                 TERMS OF ENGAGEMENT

      The billing    rate is $360.00 per hour for two sides, $390.00 per
hour for three sides | $420.00 per hour for four or more sides and for
Saturdays.    Travel time is billed    portal-to-portal   at the above rates.
Actual preparation time is billed.       One-hal-f hour of administrative
time is billed    for each scheduling.    These billing   rates apply and are
agreed notwithstanding     court orders or local rules which may set other
rates in the absence of agreement. Birls are due on receipt.         rt is
agreed that the forum before which the case is pending can enforce
payment.   If it becomes necessary to seek enforcement of the payment
obligation   more than 90 days after the bill      is rendered, reasonabl-e
court costs, attorneys'fees      and interest of one percent per month
shall- be added.

Minimum Charge: The minimum charge for a mediation  schedul-ed for a hai-f
day is two and one-ha]f (2.5) hours and for mediation scheduled for a
full day is five (5) hours ("the Minimum Charge").

Cancellation  or rescheduling:    When a case is cancel-led or rescheduled
with less than fourteen (14) days notice, we wj_ll bill        all sides
equally for the Mj-nimumCharge for the time reserved unless the parties
have agreed otherwise.      Time of notice is computed as under Rule 6,
Fed. R. Civ. P. fn cases where Court approval is required, notj-ce runs
from the date the court approves the cancell-ation       or rescheduling.  We
do not waive cancel-lation,/rescheduling     charges unless we are able to
book another case in the reserved time slot.         Cancel]ation or
rescheduling should be confi-rmed in writing       (email or fax is
sufficient)  to al-l- parties.   Pl-ease inform us immediately of any motion
which may result in the re-scheduling       of the mediation, or of any
negotiation  which might make the mediat.ion unnecessary.

                                                                                   SERVICES

      Peter J. Gri11i, P.A. sole1y focuses on mediation services.                                                                                                                                                                   Over
five thousand cases have been mediated since the practice began.                                                                                                                                                                    Cases
actuall-v mediated inc]ude:

      cl-ass actions (Title VII, clvil- rights,  desegregation, insurance
      sales practices,   securities,  TCPA, FLSA col-lective actions);
      commercial- matters (intellectual  property,   antitrust,  trade
      secrets, securities   fraud, construction,   environmental, False
      /-l   -im-      Aa|.        /att i       +-*            1^--l               ^-l              r au u
                                                                                                        n vn ur rr lnL {r -r t. yi       nn          m                                                          .
      uf    arruD     nuL/         9uf         Lolut          ac9ct-L             clIl(t           q                                                 t l Lr q
                                                                                                                                                            ' l rnp r! ro nu fL r U E , f i n a \
                                                                                                                                                                                                                7
     personal injury cases (wrongful death, medical- malpractice,
     products liability,   51983, maritime, Jones Act, FELA);
     employment cases (agelrace/sex discrj-mi-nation, Disabilities    Act,
     hostil-e environment, FMLA, non-compete, ERISA, FLSA);
     insurance matters   (E&O, environmental, corrrrnercial, bodily and
     narq^nAl                 i nirrrrr             m:ri         f      imo                   qrl-ri
                                                                                     r ir iu q v r f r
                                                                                     q                           I i 1L j- r r              lv -q rur r l        f! q rr i   ]u-r hr \        .
                                                                              ,                                                      ,                                                   /   ,

     constitutional- issues (Free Speech, Free Exercise, adult use,
     Establishment Cl-ause, Due Process, Equal Protection, public school
     desegregation, excessive force and wrongfui arrest);  and
     acf       at.a   lit.        ia:f        i^^       /"nA'.^               i-€111p6n6
     s o u q u s      r r L f Y q u r v l r             \ u I r U U g         I l M u g r r u g t                              Ir Eo! fV n
                                                                                                                                         I Irt m
                                                                                                                                               l q a
                                                                                                                                                   L l1
                                                                                                                                                      U -I l t        inn                    Ii InI Lf ga ! ry n
                                                                                                                                                                                                               l Er Lo   1-at.iOn      Of
     wil-Is and trusts)                             .
Case 6:16-cv-00982-CEM-TBS Document 184 Filed 08/21/17 Page 6 of 9 PageID 4658

                                                                  ABOUT !!EDIATION

        rn mediation, a neutral third party - the mediator - encourages
and facil-itates   the resofution  of the dispute, without prescribing  the
result.    rt is informa] and non-adversariar.     The mediator has no
decision-making authority.      The parties make the decisions,  with their
attorneys' advice.

What will   happen at the mediation?  When everyone has arrived,   we
convene in a conference room for a joint    session.   After the mediator's
opening statement, each side's attorney can give an opening statement.
After the opening statements, the parties usually go to separate
"caucus" rooms, and the mediator will- then ?'shuttl-e" between the two
sides.    Sometimes both sides meet aqain in ioint   session.

Can I be forced to compromise?       The mediation  rules do not require  any
party to make any compromise at any time.        You may decide, based on
advice from your attorney and the discussions in the mediation process,
that you want to compromise.       A settl-ement comes when the parties  agree
on a resolution     which they believe meets their interests,   with due
regard for the strengths and weaknesses of the case and the practical
realities   of litigation.    Most mediations end in a compromise
settlement.

What happens if an impasse                                   is reached?  The case simply proceeds
through the court system.                                    No rights are l-ost by coming to mediation.

Can anyone else find out what was said at the mediation?      Proposals
made at the mediation,  and all- other communications made at the
mediation, are confidential.    Such discussions shou]d not be reveal-ed
outside of your party or your lawyers.     The mediator reports in writing
to the Court whether the parties   attended, and whether the case reached
settlement or impasse, or was continued.

What other                  rules        govern        the        mediator?                          Any party                                    can give                          the       mediator
cnani    €i n      i nf nrr14l           jgn     in    CaUCUq             rnd           r o9 nY qr 9l a
                                                                                        !             0
                                                                                                        ql-   U
                                                                                                                         rL -r rhq aL t       tLhl l eE      m e d i a tq ou vr !
                                                                                                                                                             frrsuf                        keen
                                                                                                                                                                                           ^gsy           tLhl l aq uf
information                      from the        other       side.                   The mediator                                         must remain neutral                                                  and
imnerf     ial                   The    mediatOf        vd vO e
                                                             so   S    rnr n
                                                                           vui-      rrirro          rl saYr ar ra   l            : du vr rr ui ng to
                                                                                                                                  q                     .        ]u-rhl ga   lm
                                                                                                                                                                                           -f
                                                                                                                                                                              t L^Er u' ia a u u !
                                                                                                                                                                                                     ^-     udlt,
                                                                                     Yrvs
however, engage both sides j-n serj-ous discussion                                                                                                of potential- risks and
rewards of litigation and al-ternative   outcomes.                                                                                                The mediator must
refrain from business relationships    with parties                                                                                               or attorneys,   and
cannot be related to any of the parties or their                                                                                                  attorneys by blood or
m:rriraa                    Th6        Florida        RUIeS           fOr         C e r t i f i e dr s q                 an.l
                                                                                                                         qrru             C n r r r fL _ An lnr l /nv ro i n t e d
                                                                                                                                          vvu!

Mediators impose other obligat.ions                                                     as wel-l-; a copy of these Rul-es is
avail-abl-e on request. The mediator                                                    is subject to prof essional-
discipline   for rule viol-ations.

How do f know whether the other side's    representative   has full
settlement  authority?  This issue is best raised before mediation,
between attorneys for the parties.    ff discussions between attorneys do
not succeed in reaching a satisfactory    l-evel- of understanding about the
party representative's  authority, counsel should contact the mediator
as soon as possible.   The best resol-utj-on of the authority    issue is for
arnl-r r6nrac6htative
           v H !   v v v r l e                 tO     have        the             practical                              abilitV                            to      decide                 at         the
mediatitn              the actual                negotiation                      position                        for                 its                 side.

@Peter         J       Grill-i           2016
Case 6:16-cv-00982-CEM-TBS Document 184 Filed 08/21/17 Page 7 of 9 PageID 4659




                                             Psrsn
                                                 J.Gnnrr
                                                     A
                                              MsoInnoN
PETER
    T. GruUU,PIOTeSSIONAL
                        ASSOCTATTON                                 volcE8I 3.874.1002FAx8 t 3.874.1
                                                                                                   I 3l
    3001WEsrAzeeue
                 SrReer                                            OhtutlteceLENoAR:
                                                                                   www.GRtLLlMEDtATtoN.coM
      TrvpA FL 33609                                                   E.MAIL:PSTER@CRILLIMEDIATION.COM




 L993-present            Peter J. Gri11i, P.A.
                               Full time mediation              practice

 1986-L993               Alpert, Josey, Grilli     & Hughes, p.A.
                               Litigation:   commercial; products liability;
                               insurance coverage; personal injury;
                               construction;    civil  rights;  labor/employment;
                               intellectual    property;   federal and state courtsp
                               trial,   appeal, mediation and arbitration

 1,982-1,986             A11en, De1I, Frank & Trinkle
                               Litigation substantially                as above

 L9-19-1981              Shackleford, Farrior,  Stallings   & Evans, P.A.
                              Litigation  substantially   as above

 1,977-1979              Law clerk,   Ben Krentzman
                         U.S. District   Court, Middle              District    of Florida

Education:

 1,977                   Georgetown University  Law Center, J.D.
                              Editorial  Board, Law & Polrv IntrL                    Bus.

1,973                    Yale College, B.A. cum J-aude American Studies
                              Henry H. Strong Prize, 1973

Activities       and Honors:

         Martindal-e-Hubbell         Law Directorv,         av rating      since   1990

         George C. Carr Memorial Award for Excel-lence in Federal Practi-ce
         and Distinguished   Service to the Federal Bar, Federal Bar
         Association,   200I

         First    Degree Black       Belt,     Tampa Moo Duk Kwan, March 2002

         Ferguson-White American Inn of Court
               President, 1 , 9 9 1 , - 1 , 9 9 2 ,1 " 9 9 6 - 1 " 9 9 1
               Founding member, Executj-ve Committee,                      1,981-1,999
Case 6:16-cv-00982-CEM-TBS Document 184 Filed 08/21/17 Page 8 of 9 PageID 4660




                                                   PErpn
                                                       J. GRrtu
                                                             A
                                                      MsolnrroN

  PETER       PnoFEsstoNAL
      l. Gr,rLLr,       AssoctAloN                                              volcE 813.874.1          F A x8 1 3 . 8 7 4 .1' 3
                                                                                                                                l 1
     3OO1WEST   AZEELE
                    STREST                                                      OttLtNg
                                                                                      cltgHoe,n:        .CRILLIMEDIATION.COM
         TAMPA"FL 33609                                                                E.MAIL:                 TloN.coM


                                                   April     1 3 , 201'7

  via e-mail:

  Tejasvi Srimushnam, Esquire                                      Mark J. Bernet, E                    ].re
  tsrimushnamGftc . qov
  Federal Trade Commission                                         Akerman,            LLP -     Ta

  Denise Beamer, Esquire                                           Matthew         Leibert,           squire
  D e n i s e . B e a m e r G m vl fo r i d a l e q a l . c o m
  Jennifer Knutton, Esquire                                        Urban Thier             c Fe        €f,     PA
  Jennifer. KnuttonGmvfLoridaleqal . com
  Office of the Attornev General


  Re:      Federal Trade Commiseion et a1 v.                           Life    Management
           Orange County, LLC et al
           Case No. : 6:16-cv-00982-CEU-fBS


  Dear Colleagues:

        Enclosed please find the statement for the mediati  n o f the
  above-captioned cause.   Please let me know if I can ass]- t i n any
  further settlement efforts.

                                                           Very truly         yours,



                                                           Peter   J      t'rl-rl_l_



  PJG/cd
  Enclosure
Case 6:16-cv-00982-CEM-TBS Document 184 Filed 08/21/17 Page 9 of 9 PageID 4661




                                    II{VOICE FOR MEDIAIION SERVICES
                                             April 13, 20L7
  Invoice       *170413

  Re:      Federal Trade cornnission et al v.            Life   Management services     of
           Orange County, LLC et al
           Caee No. : 6:16-cv-00982-CEM-TBS

  Time charges:

           March 20, 20L'l

    .5     Administration           time

           April     72, 2017

  1.75     Review mediation summaries with exhibits,  ECF docket sheet 'and
           pleadings; review motions and orders; review cited 1egal
           authorities; prepare notes and questions

           April     13, 201,'7

  2.0      Mediate

  NC       Prepare      final     paperwork


  4.25      x    $390/hr             $1657.50


  Per-side mediation fee:                  $552.50


  Plaintiffs   Federal Trade                            Defendant Kevin W. Guice
  Commission and Office of the                          should pay: $552.50
  Attorney General, State of
  Florida,   Department of Legal                        Receiver Mark ,J. Bernet      should
  Affairs should pay: $552.50                           p a y : $ 5 5 2. 5 0




  Due upon receipt.              Checks should be made payable to:

  Peter J. Grilli,             P.A.                     Corporate EIN:
  300L West Azeele Street                               XX-XXXXXXX
  Tampa, Florida 33609
  8 1 3. 8 7 4 . 1 0 0 2F a x : 8 1 3. 8 7 4 .1 1 3 1
